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4
     Attorney for Defendant
5    VIRGIL SANTA
6
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,       )     No. 2:08-MJ-0093 GGH
11                                   )
                    Plaintiff,       )
12                                   )
          v.                         )     STIPULATION AND ORDER TO EXTEND
13                                   )     TIME FOR PRELIMINARY EXAMINATION
     MARIA SANTA,,                   )     AND EXCLUDE TIME
14   VIRGIL SANTA, and               )
     CANDIT SAVA, JR.,               )
15                                   )     Date:    July 17, 2008
                    Defendants.      )     Time:    2:00 p.m.
16   _______________________________ )
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          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
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     Preliminary Examination scheduled for June 5, 2008, be vacated and that
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     time beginning June 5, 2008, and extending through July 17, 2008, be
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     excluded from time under the Speedy Trial Act within which an
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     indictment must be found.     Time under the Speedy Trial Act has
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     previously been excluded for this purpose through June 5, 2008.
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     Further, the defendants consent to an extension of the time for
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     preliminary examination until July 17, 2008.        Fed. R. Crim. P. 5.1(d).
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     The parties submit that the ends of justice are served by the Court
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     excluding such time, so that they may have reasonable time necessary
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     for effective preparation, taking into account the exercise of due
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             Case 2:08-cr-00468-KJM Document 33 Filed 06/05/08 Page 2 of 3


1    diligence.     18 U.S.C. § 3161(h)(8)(B)(iv). In particular, the time is
2    required so that the parties can review discovery and consider
3    conducting any necessary investigation.
4          Counsel for defendants have talked to their respective clients in
5    this case, and represent that each has consented to this continuance
6    and exclusion of time, agreeing that the interests of justice are
7    furthered thereby.
8          The parties stipulate that the interests of justice outweigh the
9    interest of the public and the defendant in a speedy filing of an
10   indictment or information, 18 U.S.C. §§ 3161(b)(h)(8)(A), and further
11   that this good cause outweighs the public’s interest in the prompt
12   disposition of this criminal case.        Fed. R. Crim.P. 5.1(d).
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     Stip & Order                            -2-
             Case 2:08-cr-00468-KJM Document 33 Filed 06/05/08 Page 3 of 3


1          For these reasons, the parties request that the preliminary
2    hearing in this matter be continued from June 5, 2008 to July 17, 2008,
3    at 2 p.m.
4          IT IS SO STIPULATED.
5    DATE: June 2, 2008                 /s/ Krist Hart
                                        KRISTA HART
6                                       Attorney for MARIA SANTA
7
     DATE: June 2, 2008                 /s/ John Balazs
8                                       JOHN BALAZS
                                        Attorney for VIRGIL SANTA
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10
     DATE: June 2, 2008                 /s/ Jeffrey L. Staniels
11                                      JEFFREY L. STANIELS
                                        Assistant Federal Defender
12                                      Attorney for CANDIT SAVA, JR.
13
14   DATE: June 2, 2008                 McGREGOR W. SCOTT
                                        United States Attorney
15
                                  By:   /s/ Matthew Stegman
16                                      MATTHEW STEGMAN
                                        Assistant U.S. Attorney
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19                                          ORDER
20         IT IS SO ORDERED.
21   DATE:   June 4, 2008.
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     Stip & Order                            -3-
